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        IN THE UNITED STATES DISTRICT COURT
      FOR THE NORTHERN DISTRICT OF CALIFORNIA
                    OAKLAND DIVISION
        Civil Action No. 4:20-CV-07201-JSW


 YUNTEK INTERNATIONAL, INC.,                       )
                                                   )
         Plaintiff,                                )
                                                   )
 v.                                                )
                                                   )
 XIAMEN JXD ELECTRONIC COMMERCE CO.,               )
 LTD.; XIAMEN SUNNYPET PRODUCTS CO.,               )
 LTD.; and PETSFIT INC.,                           )
                                                   )
         Defendants.                               )




          Videotaped Deposition of ROGER LU
                        Volume II
        Friday, December 10, 2021 - 1:12 p.m. PST




Job No.: 3704


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                                                                              Page 292
 1   number 40 that you can see in the middle --
 2   in the middle of claim 6.
 3                     Let me know when you've found
 4   that line.
 5            A.       I see it.
 6            Q.       And do you see it says there,
 7   "wherein said housing is foldable"?
 8                     MR. POPPE:     And I'll ask the
 9            interpreter to use the English words
10            for the patent language in his
11            translation.
12            A.       I did see "foldable such that."
13   That was referring to the paragraph below.
14                     Is that correct?
15   BY MR. POPPE:
16            Q.       Well, I'll ask you.       Is it your
17   interpretation that it is referring to the
18   paragraph below?
19                     MR. AYCOCK:     Objection.      Vague
20            and ambiguous as to the term
21            "interpretation," as that is a legal
22            term of art.
23                     MR. POPPE:     Okay.    I'll
24            rephrase that question.
25   ///


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                                                                           Page 293
 1   BY MR. POPPE:
 2         Q.        Is it your understanding that
 3   the phrase "wherein said housing is foldable
 4   such that" refers to the paragraph below?
 5         A.        Let me read this
 6   paragraph below.     "...the first, second, and
 7   top sides are disengaged from said front and
 8   back panels, wherein when disengaged, said
 9   front and back panels open in a direction
10   parallel to a longest side of the main
11   body..."
12                   Well, when it says it is
13   foldable, it is foldable in that way.           That's
14   correct.
15         Q.        What do you understand the word
16   "foldable" to mean, as the word is used in
17   claim 6 here on line 38 of column 1 of the
18   page that we're looking at in Exhibit 11?
19         A.        With regard to the patent scope
20   at issue in this case, the word "fold" and
21   the word "foldable" are two different words.
22                   Later, it says the front panel
23   and the back panel are folded over the
24   collapsed main body, with one of the front
25   panel and the back panel folded over the


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                                                                           Page 294
 1   other.
 2                   Clearly, over here, the word
 3   "folded" is different from the word
 4   "foldable."
 5            Q.     Do you understand that the
 6   phrase you just read from lines 46 to 48 of
 7   the patent is part of the description of how
 8   the housing is foldable, as recited at
 9   line 38?
10                   MR. AYCOCK:    Objection.      Lacks
11            foundation, mischaracterizes the
12            document and the wordings of the
13            claims, and is argumentative.
14            A.     Line 36?    I can see line 36.
15                   "...perpendicular to the bottom
16   side, said front panel and the said back
17   panel form a frame for the said housing..."
18                   That's what it says in line 36.
19                   Well, I heard "line 36" in the
20   interpretation.     I couldn't find the word
21   "foldable" in that line.
22   BY MR. POPPE:
23            Q.     Unfortunately, there was a
24   miscommunication.
25                   My question was, and I'll just


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                                                                           Page 295
 1   say it again:     Do you understand that the
 2   phrase that appears at lines 46 through 48 of
 3   column 1 on the page that we're looking at is
 4   part of the description of how the housing is
 5   foldable as recited at line 38?
 6                   MR. AYCOCK:    Objection.      Lacks
 7         foundation, mischaracterizes the
 8         document and the wording of the
 9         claims, and is argumentative.
10         A.        Line 46 through line 48
11   describes the implementation of the folding
12   and the steps.     So over here, the wording is
13   "fold."
14   BY MR. POPPE:
15         Q.        So you believe that when
16   line 38 says that the housing is foldable,
17   the only part of the following lines that
18   describe the way in which the housing is
19   foldable are the lines at line 39 to 42.
20                   Is that your belief?
21                   MR. AYCOCK:    Objection.
22         Mischaracterizes the witness's prior
23         testimony and is argumentative.
24         A.        The word "foldable" appears in
25   line 38.   And the wording in line 46


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                                                                           Page 296
 1   expressed the approach to implement the
 2   folding.
 3   BY MR. POPPE:
 4         Q.        And this is your own opinion?
 5         A.        That is correct.      It is my own
 6   opinion regarding the patent.         Because the
 7   above wording says "foldable," but the
 8   wording below says something about the
 9   approach of implementation.
10                   It says very clear here,
11   "...and the front panel and the back panel
12   are folded over the collapsed main body with
13   one of the front panel and the back panel
14   folded over the other..."
15                   So it is very clear about
16   folding over the other.
17                   MR. AYCOCK:    Hey, Matt, when
18         you've got a second.        I know we're
19         over seven, and it's getting late.            So
20         we've got other considerations of
21         other people, so...
22                   Do you want to take a break and
23         talk about that for a minute?
24                   MR. POPPE:    Sure.
25                   THE VIDEOGRAPHER:      We're going


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